     Case 19-33408              Doc 14       Filed 11/28/19 Entered 11/28/19 23:30:18                              Desc Imaged
                                             Certificate of Notice Page 1 of 2
Form defntc7

                                         UNITED STATES BANKRUPTCY COURT
                                               Northern District of Illinois
                                                    Eastern Division
                                                    219 S Dearborn
                                                       7th Floor
                                                   Chicago, IL 60604

In Re:
Steven Villalobos                                                      Case No. : 19−33408
1421 W Elmdale                                                         Chapter : 7
3B                                                                     Judge :    Deborah L. Thorne
Chicago, Il 60660
SSN: xxx−xx−7561 EIN: N.A.



                            NOTICE OF DEFICIENCY: POSSIBLE DISMISSAL OF CASE

      Section 521 of the Bankruptcy Code requires debtors to complete and file certain documents in their cases. Under Bankruptcy Rule
1007, the deadline for filing the completed documents is 14 days after the case is filed. The deadline in this case is: December 9, 2019.
      The Clerk has determined that you have failed to file or complete the following required documents:
· None.


      If you do not complete and file these documents, your case will be dismissed on the 45th day after your case was filed.

      The following additional documents were also due at the time of filing and are missing or deficient:

· Certificate of Credit Counseling.


                                                                      FOR THE COURT

Dated: November 26, 2019                                              Jeffrey P. Allsteadt, Clerk
                                                                      United States Bankruptcy Court
          Case 19-33408            Doc 14       Filed 11/28/19 Entered 11/28/19 23:30:18                         Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-33408-DLT
Steven Villalobos                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: bchavez                      Page 1 of 1                          Date Rcvd: Nov 26, 2019
                                      Form ID: defntc7                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 28, 2019.
db             +Steven Villalobos,   1421 W Elmdale,   3B,   Chicago, Il 60660-2431

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 28, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 26, 2019 at the address(es) listed below:
              Miriam R Stein   mstein@chuhak.com,
               dgeorge@chuhak.com;mstein@ecf.axosfs.com;IL82@ecfcbis.com;vjefferson@chuhak.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Rusty Payton    on behalf of Debtor 1 Steven Villalobos rustypayton@me.com,
               payton@paytondann.com
                                                                                            TOTAL: 3
